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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION


WEST WIND AIR LLC d/b/a CHRISAIR                                                     PLAINTIFF

       Vs.                        CASE NO. 5:16-cv-274-DPM

THRUSH AIRCRAFT, INC.                                                    DEFENDANT/THIRD-
                                                                          PARTY PLAINTIFF

       Vs.

PRATT & WHITNEY CANADA CORP.;
PLANESMART AIRCRAFT SERVICES LLC;
and ESTATE OF DONALD SCOTT BROWN, Deceased                                       THIRD-PARTY
                                                                                 DEFENDANTS


      SUBSTITUTED STATEMENT OF UNDISPUTED FACTS IN SUPPORT
   MOTION FOR SUMMARY JUDGMENT OF THE ESTATE OF DONALD SCOTT
     BROWN, DECEASED AND PLANESMART AIRCRAFT SERVICES, LLC



                                     UNDISPUTED FACTS

       1.      PlaneSmart Aircraft Services, LLC (“Planesmart”) and its mechanics, including

Donald Scott Brown, did 100-hour inspections of the aircraft involved in the accident. (Doc.

116-1, pages 1-20, PlaneSmart’s file on inspections; Doc. 116-2, pages 14, 18, report of

movant’s expert Steve Magginetti).

       2.      PlaneSmart and its mechanics followed the inspection checklist at Thrush

Aircraft, Inc. (“Thrush”), the manufacturer of the aircraft. (Doc. 116-2, pages 14, 15, 17-18,

report of Steven Magginetti).
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           3.   Thrush’s inspection checklist did not direct inspection of the beta valve. (Doc.

116-2, deposition testimony of the plaintiff’s expert Arthur Lee Coffman, page 3; Doc. 116-2,

report of Steve Magginetti, page 18)

           4.   The experts for the plaintiff and Thrush do not criticize the inspections by

PlaneSmart. (Doc. 116-2, pages 4-5, report of Thrush’s expert James P. Peleck; Doc. 116-2,

pages 6-8, report of Thrush’s expert Thomas J. McCreary; Doc. 116-2, pages 9-11, report of

Thrush’s experts Steven L. Morris and Robert C. Winn; Doc. 116-2, page 3, deposition

testimony of plaintiff’s expert Arthur Lee Coffman).

           5.   Planesmart performed the inspection properly. (Doc. 116-2, page 18, report of

Steve Magginetti).

           6.   PlaneSmart was not guilty of fault that contributed to causing the accident. (There

was no criticism of PlaneSmart by the experts for the Plaintiff and Thrush, see Fact 5, b. Doc.

116-2, page 18, report of movant’s expert Steve Magginetti).



                                              /s/ Patrick J. Goss
                                              Bar Number 73042
                                              Attorney for PlaneSmart Aircraft Services, LLC
                                              Rose Law Firm
                                              120 East Fourth Street
                                              Little Rock, AR 72201
                                              Telephone: (501) 375-9131
                                              E-mail: pgoss@roselawfirm.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which shall send notification of such filing to the following
attorneys of record:

Robert G. Bridewell                                  Stephen Bingham
Robert G. Bridewell PLC                              Abtin Mehdizadegan
P. O. Box 391                                        Cross Gunter Witherspoon & Galchus, P.C.
Lake Village, AR 71653-0391                          P. O. Box 3178
bridewellattorneys@sbcglobal.net                     Little Rock, AR 72203-3178
                                                     sbingham@cgwg.com
James J. Thompson, Jr.                               abtin@cgwg.com
Attorney at Law
2025 Third Avenue North, Suite 216                   Baxter D. Drennon
Birmingham, AL 35203                                 Wright Lindsey & Jennings
jt@jimthompsonlaw.com                                200 W. Capitol Avenue, Suite 2300
                                                     Little Rock, AR 72201-3699
Nolan E. Awbrey                                      bdrennon@wlj.com
Awbrey Law Firm
2 North 20th St., Suite 950
Birmingham, AL 35203
nolan@awbreylaw.com

Fred C. Begy, III
Law Offices of Fred C. Begy III, P.C.
200 N. LaSalle Street, Suite 2810
Chicago, IL 60601
fbegy@fredbegylaw.com


                                             /s/ Patrick J. Goss
                                             Bar Number 73042
                                             Attorney for Planesmart Aircraft Services, LLC
                                             120 East Fourth Street
                                             Little Rock, AR 72201
                                             Telephone: (501) 375-9131
                                             E-mail: pgoss@roselawfirm.com




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